               Case 1:24-mj-00498-WEF Document 1 Filed 12/16/24 Page 1 of 1 PageID# 1



                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District
                                                 __________         of of
                                                             District  Virginia
                                                                          __________

                     United States of America                      )
                                v.                                 )
                                                                   )       Case No. 1:24-mj-
         $EGXOODK(]]HOGLQ7DKD0RKDPHG+DVVDQ
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)


                                                 CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 1RYHPEHU'HFHPEHU in the city/county of                                    )DLUID[&RXQW\

in the         Eastern             District of          Virginia            , the defendant(s) violated:

         Code Section                                                              Offense Description
86& S  $                                        'LVWULEXWLRQRILQIRUPDWLRQUHODWLQJWRH[SORVLYHVGHVWUXFWLYH
                                                             GHYLFHVDQGZHDSRQVRIPDVVGHVWUXFWLRQLQIXUWKHUDQFHRIWKH
                                                             FRPPLVVLRQRIDIHGHUDOFULPHRIYLROHQFHWKDWLV86&
                                                               D  E  %  ILUVWGHJUHHPXUGHURI
                                                             LQWHUQDWLRQDOO\SURWHFWHGSHUVRQV


           This criminal complaint is based on these facts:
           See attached affidavit.




            ✔ Continued on the attached sheet.
            ޭ                                                          __________________________________
                                                                               ________________
                                                                                             ______
                                                                                              _
                       Reviewed by AUSA/SAUSA                                      Complainant’s
                                                                                   C mplainant’s signature
                                                                                   Co
                   $86$6HKDU)6DELU
            __________________________________                           7\OHU(OOHIVRQ)%,6SHFLDO$JHQW
                                                                       __________________________________
                           Printed name and title                                   Printed name and title
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
   telephone                                               (specify reliable electronic means).



   Date: 12/1/2024
                                                                                                    Judge’s signa
                                                                                                            signature
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                                                                                                                  tur

   City and state:     Alexandria, Virginia                                   Hon. :LOOLDP()LW]SDWULFN, U.S. Magistrate Judge
                                                                                                  Printed name and title
